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     IN TH E IJM TED STATES DISTR ICT CO URT FOR TH E SOU TH ERN
          DISTR ICT O F FLO RIDA W EST PA LM BEA CH DIW SIO N

                                  CASE NO .12-80364-ClV-M ARR Am R AN NO N
 JOHN KORM AN,                   )
 PrivateAttorney General,        )
                    Petitioner,   )                           FILED by           D.C.
                                 )
 AURORA LOAN SERW CES LLC;        )                              APR 26 2212
 OFFICE OF CEO,AND PRES OF AUROM ;)
 AURO R A BANK FSB;                                              STEVEN M LARIMORE
                                                                 CLERKUbDIST.CT.
                                                                 s-
                                                                  o.QFFkâ.-w.R:.
 M ER SC OR P H OLDIN G S,IN C;
 M ORTGA G E ELECTRO NIC
 REG ISTR ATION SYSTEM S INC ;
 LEH M AN BR OTH ERS H O LDG G S,> C ;
 LEH M A N BR O TH ERS BANK ,FSB;
 LEH M AN BR OTH ERS,IN C;
 LEH M AN BRO TH ERS BANC ORP INC ;
 LEHM AN X S TRU ST 2006-11;
 STRUC TURED ASSET SECURITIES
 CO RPOR ATION ;
 LASA LLE BANK N .A.asTRU STEE;
 U .S.BANCO RP assuccessorTR USTEE;
 A SSO CG TES LAe TITLE INC;
 TH EO DO RE SCH ULTZ,lndividual;
 LAUR A M C CA NN,lndividual;
 CYNTH IA W ALLACE,lndividual;         )
 JO ANN R EIN,lndividual;              )
 LAW O FFICE OF DAW D J.STER N P.A .; )
 DAW D JAM ES STERN,Esquire;        )
 K ARO L S.PIERCE,Esquire;          )
 CASSANDR A RACINE-RIGAUD,Esquire; )
 M ISTY BARNES,Esquire;             )
 DARLINE DIETZ.Notary;              )
 JOHN DOE 1- 1001                   )
 JANE DOE 1- 1001                   )
                        Defendants. )
                                              /



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      EM ER G ENCY M O TION FOR TEM POR ARY RESTR M NG G ORD ER
                   AN D A PRELG INA RY INJUNCTIO N

             JOHN KO           ,PrivateAttom ey General(hereinaherçtpetitioner''),
 requestthe Courq pursuantto FederalRule ofCivilProcedure 65,issue;

 1.          an Ordertem porary res% ining A URORA LOAN SERVICES LLC

 CCALJRORA''I9om Assigningitsalleged Servicing RightsofPetitioner'sM ortgage-
 N OTE to anon-party,SELENE FINANCIAL L.P.Absentimm ediate Court

 intervention D efendantAURORA willnotonly proft9om selling Petitioner'salleged

 debtto an innocent-third-partp buyer,predicated on an Uttered docum ent,atissue in

 thisinstantcase,butwillconvey itsliability to an innocentthird party who w illnow

 ptlrsue Petitionerforpaym ent,and possibly file anew foreclosm e action;

 2.          an Ordertem porarily restraining D efendantAURORA LOAN SERVICES

 LLC from selling orlansferring itsServicing Rightsasthey relateto LEHM AN

 BROTHERSBANK FSB toathird-partyuntilthislitigationhasbeen adjudged C11;or,

 3.          an Ordertem porarily restraining DefendantAURO RA LOAN SERVICES

 LLC from selling ortransferring itsalleged Servicing Rightsasthey relateto LE

 BROTHERS BANK FSB 'Salleged debt, to athird-party tmtilthe Courtm ay consider

 Petitioner'sM otion forPreliminmy lnjunction.


 E11AURO RA isaeeused ofconducting an on going crlm inalenterprisewhereby the schem e
 involvesIiquidating assetstransferred from LEH M AN BROTHERS BANK FSB Bankruptcy
 estate.assetswhieh isnotreported orrecorded with thejudieialTrusteeadministeringthe
 LEHM AN BRO TH EM BANK FSB Banknlptcy proceeding.

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                                 1.     INTRO DU CTIO N

             Thisisanaction fordeclo tory and injtmctivereliefpursuantto42 U.S.C.
 1983 andtheDeclaratoryJudgm entAct,28U .S.C.2201(Title 11Section 1146),
 broughtby Petitionerto enjoin AURORA LOAN SERVICES LLC,from continuingto
 violate FederalLaw and theUnited StatesConstitution,by illegally transferring a

 phantom -security interestfrom a debtor'sestate whilein custodia legis,donew ithout

 judicialTrustee'sapproval.


                           Il.        STA TEM ENT O F FA CTS

             M ay 15th 2009 AURORA LOAN SERVICES LLC com m enced a

 foreclosure Action in itsown nsm eforitsow n beneftacting asPlaintiff,IN THE

 CIRCU IT COURT OF 'filE FIFTEEN TH R JDICIAL CIRCUIT,IN AND FOR PALM

 BEACH COUN TY ,FLORIDA ,CA SE N O:09-CA-017057.

             AUROR A,notthe originalLender,to show Standing fabricated a

 colorableA ssignm ent9om whole-cloth;Assir orisLEHM AN BROTHERS BANK

 FSB;A ssignm entisexecuted Jtme 8+ 2009,by A ssistnntVicePresidentofAUROR A

 w earing a M ERS.hat,aw hileA ssignorLEHM AN BRO TX R S BANK FSB isam idsta

 B anknm tcy proceeding, com m enced Septem ber 15th2008.

              PetitionerisDefendnnt-llome-ownerin CA SE N O :09-CA-017057.




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             Petitionerherein butdefendantin CA SE N O ;09-CA-017057,M otion to

 D ism issAURORA LOAN SERW CES LLC'SfirstAm ended Com plaintwasGRANTED

 M arch 1% 2012 with AUROM 'SLeaveto Am end;AUROR A w asgiven an opportunity by

 the Courtto file aVerified second A m ended Complaintno laterthan April3rdzcjz;

 AURORA standssilentto tM sday,did notsubm ita Verified second Am ended Complaint

 w ith the Court.

             April5* 2012Petitionerfiledathirtp five(35)COUNT PETITION /
 COM PLAINT againstAU RORA etal.alleging interalia,forgery,false claim ,U sury,

 Stellionation,intrinsic H ud,extrinsic gaud,attem pted larceny,CivilR.I.C.O .,m ailfraud,

 w ire fraud,m ortgagefraud,uttering,1983 violation and others.

             April19th2012 Petitionerreceived by U .S.PostalServicea ççgood bye''

 letterinformingPetitionerAURORA BANK FSB (notAUROM LOAN SERVICES
 LLC)istransferringtheServicingofPetitioner'sloanto anon-party,SELENE
 FINAN CE L.P.,effective M ay 1* 2012.

              Petitionerdoesnothavean agreem entwith AURORA BAN K FSB and

 Petitionerhasnoteverm adea paym entto AUROR A BANK FSB.

              AURORA BANK FSB w asform ally known asLEIIM AN BROTHERS

 BAN K FSB,changed itsnam e in April2009 and istheparentto AUROR A LOAN

 SERVICES LLC;




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            LEHM AN BROTHERS BAN K FSB petitioned theBankruptcy Courtas

 an insolventdebtorSeptem ber 15th2008 tm derTitle 11,Chapter 11;

             LE         BROTHERS BANK FSB did notdisclosePetitioner'salleged

 debtasbeingoneofitsassets,tothejudicialTrusteeadministeringtheLEHM AN
 BROTHERS BANK FSB'Sreorganization tmderChapter 11;because,LEHM AN

 BROTHERS BAN K FSB sold a11itsRight,Title and lnterestin Petitioner'sdebtto

 LEHM AN BROTC RS HOLD IN GS IN C before the ink dried on Petitioner'sonce wet

 ink signature;see Special-lndorsem entfound on the copy ofa copy ofPetitioner's

 allegedNOTE,(ExhibitZ,page3of4 attachedtotheoriginalPetition /Complaint).
 Special-lndorsem entfotm d on theN OTE setoversaidN OTE to LEHM AN

 BROTM RS HOLDING T cnprimafascia;however,
             AURORA executed two colorable Assignm entswhich allege transferofa11

 Rights,Titleand Interestin Petitioner'sdebtsetoverto AURORA;firstA ssignm ent

 w asexecuted July 9* 2008, foran 'mrelated case;see originalPetition /Com plaint.

             AU RORA executed a second colorableA ssignm entJune 81 2009,this

 Actofthe second A ssignm entisan adm ission by AUROR A asto notactually owning

 thedebtJuly 9* 2008, astherecan be no otlw rexplanation to the second A ssignm ent.

             Petitionerisnotalone,whereby AURORA LOAN SERVICES LLC

  appearsto be actively transferring phantom -M ortgage-debtfrom LEHM AN

  BROTX RS BAN K FSB'Sestate am idst LEHM AN BROTHERS BAN K FSB 'S



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 Banknzptcy proceeding;seettExhibitA A''hereto attached and incom orated herein by

 reference.

              LEHM AN BROTHERS BANK FSB doesnotown orhold the alleged

 M ortgage-debt,which iscons% ctively transferred by an AURORA employee asthe

 A ssignorwhilew earing a M ERS.hat,setoverto A URORA the M ortgage-debtasthe

 designated A ssignee;

              now A UROR A isregistered asPetitioner'sM ortgagee,w ith whatappears

 to give AUROR A al1Rights,Title And lnterestto Petitioner'sdebtevidenced by two

 Uttered Documents,both duly recorded;

              AURORA fabricating Assignm entsfrom whole-cloth,to show Standing

 where there isnone,isan ongoing accepted businesspractice within thenorm alcourse

 ofbusiness,msconducted by AURORA.

              Thepurposeofthistem porary restraining orderisto preserve the status

 quoand preventirreparableharm beforeaprelimino injunctionhearingmay beheld.

                                  IH . AR GUM ENT


 StandardsforIssuanceofTem porao Restraining Orderand Prelim inaryInjunction

              ln determiningwhetherto grantinjunctivereliefpriortotrial,theCourt
  mustconsiderfourfactors:(1)theplaintiffslikelihood ofsuccessin thetmderlying
  disputebetweentheparties;(2)whethertheplaintiffwillsufferirreparableinjury ifthe

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 injunction isnotissued;(3)theinjurytothedefendantiftheinjunction isissued;and
 (4)thepublicinterest.ScottsCo.v.United Indus.Corp.,315F.3d 264,271(4th Cir.
 2002);BlackwelderFurnitureCo.v.Seilie M anufacturinz Co.,550F.2d 189,193
 (4th Cir.1977).A strong showingofalikelihood ofirrepmubleinjury substantially
 lessensthe plaintiffsneed to dem onstmtethe likelihood ofsuccesson them erits.

 M arvland UndercoatineCo.v.Pavne,603 F.2d 477,481 (4th Cir.1977).Thestrong
 likelihood ofsuccesson the m eritslikew isereducestheneed to m eetthe other

 requirem ents.


             ln thiscmse,an Em ergency Tem porary Restraining Orderand a

 PreliminaryInjunction areboth necessary andappropriatebecausePetitionerhasa
 strong likelihood ofprevailing and would sufferimm inentharm ifsuch interim reliefis

 denied;furtherm ore to allow A UROR A to foreclose on a party wherein the party's

 circum stancesm irrorthe allegationsassetforth herein willcauseotherssim ilarly

 situated im m inentdangerofforeclosure and irreparable harm ifAURORA isallow ed to

 continueand ultim ately foreclose,predicated on fabricated evidence;

             on the otherhand,D efendantAUROM LOAN SERVICES LLC willnot

 beharm ed by preventing it9om conducting illegalforeclosm es,predicated on an

 Assignm entfrom LE          BROTHERS BANK FSB w hile in custodia legis,a

 phantom -debtwhich iscons% ctively setoverto AUROR A,butisan alleged debt

  neitherLEHM AN BROTHERS BANK FSB norA UROR A legally own orhold.


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             TheBanknzptcy ofLEHM AN BROTX R S BAN K FSB isam atterof

 public record,asisitsassets;wherein therecord issilentconcem ing thetransferof

 Petitioner'sM ortgage-debt,orthe M ortgage-debtofotherssim ilarly situated setoverto

 AURORA byjudicialTrustee'sauthorization.
               Attached hereto astiExhibitA A,''are ninemore examplesofpropeo
 transferred and duly recorded contemporaneously w ith the LEHM AN BROTHERS

 BANK FSB Banknm tcy.AUROR A islitem lly transfening hundredsofm illionsworth

 ofreal-estate from the LEHM AN BROTX RS BANK FSB Banknzptcy estate without

 judicialoversight;astheM ortgage-debtallegedtransferred isphantom-debt,not
 disclosed by LE          BROTHERS BANK FSB asan assetitpossesses,ab initio.

             Each foreclosureA ction which AUROR A orchestrated since Septem ber

 15th2008, whereby LEHM AN BROTHERS BANK FSB isthe originalLenderand

 Assignor,M ERS.asLender'snom inee,whereby an em ployee ofAURORA acting in

 the capacity asCertifying O fficerofM ERS.executed an Assignm ent,setoverto

 AURORA theM ortgagetoeetherw ith theN OTE,isan ActoflntrinsicFraud upon

 the Courq and an ActofLarceny againstahom e-ownercontem poraneously violating a

 Constim tionally protected property rightunderthe FiAh Am endm ent,a crim e

 perpetrated by a regulated entity.

              D efendantA URORA LOAN SERW CES LLC w illnotsufferany harm

  from complyingwith aTemporaryReskaining Orderand Preliminarylnjunctionunless


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 AURORA can show thisCourtasingleinstancewherebythejudicialTrusteeapproved
 the transferofthe M ortgage,togetherw ith the debt,from LEHM AN BROTHERS

 BANK FSB setoversam e to AUROR A,with al1Rights,Title and Interest.

             ltshould be clearto theCourq from the evidence in hand,AURORA filed a

 false-claim againstPetitioner,asAURORA pretended to be theReal-partp in-lnterestin

 CA SE NO :09-CA-017057,com menced a legalaction in itsown nnm e foritsown

 benefk.To proveitsinterestfabricated an A ssignm ent;N ow AUROR A adm itsitis

 m erely the Servicer,w ith therightto collectthedebt,on behalfofa non-party

 benefciary,in custodialegisata11tim erelevant.tçExhibitAA''hereto attnched,indicates,

 nineAssignm ents,sim ilarin theirnature msPetitioner'scircum stances,duly recorded in

 one County overatwo m onth period;multiply thatby six to arrive attwelvem onthsof

 theyear;then m ultiply thatnum berby sixtp seven countiesfound w ithin the State of

 Florida,isa 1otofreal-estate,Larceny on agrand scale,notto m ention orconsiderthe

 numberofinjured peopleinvolved.
                    IV . Should NotBeR equired to Posta Bond


             Federalcourtscons% ing FederalRuleofCivilProcedure 65 perm itatrial

  courttorequirenobondwherethenonmovingparty failsto demonstratean injury.
  ttlrrjhetrialjudgehmswidediscretion inthemannerofrequiring security and ifthereis
  an absenceofproofshow ing the likelihood ofharm ,certainly no bond isnecessary.''

  ConfinentalOilCo.v.FrontierRellnineCo.,338F.2d 780,782 (10th Cir.1964)9

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 Doctor'sAssocs..lnc.v.Stuart.85 F.3d 975,985 (2d Cir.1996);seealso W est
 VireiniaHiehlandsConservancvv.Island Creek CoalCo.,441F.2d 232,236 (4th
 Cir.1971)(holdingthatanominalbondof$100wassum cientwheredefendantfailed
 to show itwould sufferm ore than negligible harm asa resultofhaving to delay tim ber

 cuttinguntiltheissuesraised inthelitigation couldbedecided).Here,thereisno
 indication thatDefendantsw illsufferany cognizable hsrm during the tim ethatthe

 temporary restrainingorderandpreliminary injunctionareineffect.Thismotion simply
  requirespreservation ofthe statusquo.Because Defendantswillnotbe hsrmed by the

  issuanceofatemporaryrestraining orderorpreliminaryinjtmction,Petitionershould
  notbe required to posta bond.

                                  V. CO NCLU SIO N

              Forthe foregoing reu ons,Petitionerrespectfully requeststhattheM otion

  foraTemporary restrainingOrderandPreliminarylnjtmction beGRANTED.
  Respectfully subm itted;
  D ATED this26* day ofA pril2012.                                           ,
                                                                                  ,.<.Y..l .
                                                                                           /.
                                                                                            st..e.......x '-.w
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                                                                                                      yy...'
                                                               O    KO
                                                          Priva eAttorney General
                                                             934 SW 21stW ay
                                                         BocaRaton Florida 33486
                                                             (561)393-0773
                                                         kormanzool@ comcast.net


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                                  LYNN E.SZYM ONIAK,ESQ.
                                  The M etropolitan,PH2-05
                                403 South Sapodilla Avenue
                              W est Palm Beach,Florida 33401
                                      szym oniak@zm ac.com
                                            May 30,2010



       A ndrew D .V elez-m vera
       O ffice ofthe U.S.Trustee
       33 W hitehallSkeet,21StFloor
       N ew York,N Y 10004

       A nton R.Valukas
       Jelm er& Block
       lehmaninquiry@jenner.com

          Re:Lehm an BrothersHoldings,Inc.
              BanknlptcyPetition#:08-13555-jmp,filedSeptember1$,2008

       DearM r.Velez-W vera andM r.Valukas:

       This letter concerns the transfer of m ortgages w ith an aggregate face value of several
       htmdred million dollarsfrom Lehman BrothersBankto Aurora Loan Servicesin thepast
       12 months that have come to my attention as part of a larger study of mortgage
       assignmentsby m ortgageservicingcompanies.

       Ihave attached copiesofnine such transfers. Please note thatthe individualsw ho signed
       these transfers signed as ççvice-president,M ortgage Electronic Registration System s,
       Inc., as nom inee for Lehm an Brothers Bank, F.S.B .'' These individuals, how ever,are
       actually employeesofAuroraLoan Servicesin Scottsbluff2Nebraska. Thetransferswere
       madeto AuroraLoan Services- so thisisam atterofthemdividualsrepresenting on the
       m ortgage assignm ents that thcy arc w orking for the grantor w hen they are actually
       em ployed by the grantee. The nine assignm ents w ere those recorded in April& M ay,
       2010,in St.Lucie County,Florida,whervthe GRANTOR wasLehman Brothers Bank,
       F.S.B.

       ln m ost cases, these assignm ents have been tlled by large 1aw firm s specializing in
       foreclosures. The assignm ents are used by these firms to ççprove''that Aurora Loan
       Serviceshas standing to bring a foreclosure action.


                                      ExhibitAA
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       To believe these assignm ents,one w ould havc to believe that a servicing com pany has
       recently (in the midstofanationalforeclosurecrisis)acquired hundredsofmillionsof
       dollarsin subprimemortgagesandwasespecially interested in acquiring loansin default.
       A nother explanation lsthatthis m ay be partofa schem e to Iiquidate certain assets
       ofLehm an Brothersthatwere unreported to the bankruptcy court.

       Please confirm that these transfers from Lehm an F.S.B.to Aurora Loan Services have
       been approved by the banknzptcy Court.Please do nothesitate to contactm e if1can be of
       furtherassistance.

       Y ourstruly,

       /s/

       Lynn E.Szym ozliak,Esq.


       M ortgage A ssignm ents From Lehm an B rothers Bank, F.S.B. to A urora Loan
       Services(St.LucieCounty,FL)-RecordedinApril& M ay,2010
       DateonAssigmnent,AssignmentBook& Page(St.LucieCo,FL),LoanAmount
       M ay 6,2010,3200/437,$232,000
       M arch 23,2010,3194/1235, $204,800
       October27,2009,3190/374,$252,999
        September 18,2009,3189/1329, $152,800
       April6,2010,3187/2409,$152,000
       January 13,2010,3185/593,$94,250
       January 27,2009,3186/513,$274,000
       January 26,2010,3185/2008, $199,920
        M arch 19,2010,3185/1124,$220,000
        Totalloan value:$1,782,769




                                          ExhibitAA

                                                 2
